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                  IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 In re:                                 :
                                        : Case No.: 24-10370
 Kia Jeneene Letitia Johnson-Thomas     : Chapter 13
                                        : Judge Ashely M. Chan
                              Debtor(s) : * * * * * * * * * * * * * * * * * *

                                                :
 U.S. Bank Trust National Association,          :   Date and Time of Hearing
 not in its individual capacity, but solely     :   Place of Hearing
 as Trustee of LSF10 Master                     :   March 12, 2025 at 11:00 a.m.
 Participation Trust                            :
                                  Movant,       :   U.S. Bankruptcy Court
         vs                                     :   900 Market Street, Suite 400, Courtroom #4
                                                :   Philadelphia, PA, 19107
 Kia Jeneene Letitia Johnson-Thomas             :
 Scott F. Waterman
                           Respondents.

     MOTION OF U.S. BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS
    INDIVIDUAL CAPACITY, BUT SOLELY AS TRUSTEE OF LSF10 MASTER
 PARTICIPATION TRUST FOR RELIEF FROM THE AUTOMATIC STAY ON FIRST
 MORTGAGE FOR REAL PROPERTY LOCATED AT 8610 PATTON RD, GLENSIDE,
                              PA 19038

       U.S. Bank Trust National Association, not in its individual capacity, but solely as Trustee

of LSF10 Master Participation Trust ("Creditor"), by and through the undersigned counsel,

moves the Court pursuant to 11 U.S.C. § 362(d) for an Order granting relief from the automatic

stay on the real property located at 8610 Patton Rd, Glenside, PA 19038 ("Property"). In support

of its motion, Creditor states the following:

1.     Kia Jeneene Letitia Johnson-Thomas (“Debtor”) filed a petition for relief under Chapter

       13 of the Bankruptcy Code on February 5, 2024 (the "Petition Date").

2.     On February 18, 2011, the Debtor executed a Note in the original amount of $211,889.00

       (the "Note"). A copy of the Note is attached hereto as Exhibit A.




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3.    To secure the Note, a Mortgage was given February 18, 2011, and recorded March 23,

      2011. A copy of the Mortgage and subsequent Assignments of Mortgage are attached as

      Exhibit B, evidencing perfection of Creditor's security interest in the Property which is

      more particularly described in the Mortgage.

4.    The terms of the Note were subsequently modified as set forth in the Loan Modification

      Agreement, attached as Exhibit C.

5.    There are other liens against the property as listed in Debtor's Schedule D.

6.    As of February 10, 2025, the total outstanding amount due on the Note is $213,026.52

      which consists of:

                      Principal               $191,177.88
                      Interest                $10,810.71
                      Escrow Advance          $6,865.68
                      Late Charges            $44.17
                      Other Fees              $0.00
                      Recoverable Balance     $5,228.27
                      Suspense funds          $(1,100.19)

7.    Creditor seeks relief from the automatic stay pursuant to 11 USC § 362(d) to proceed

      under applicable non-bankruptcy law to enforce its remedies and to take any and all

      actions necessary to accelerate the balance due on the Note, to foreclose the Mortgage in

      accordance with state law, to apply the net proceeds to the obligation, and to otherwise

      exercise its contractual and state law rights as to the Property.

8.    Creditor is entitled to relief from the automatic stay for the following reason(s):

      a.     Creditor is not adequately protected per 11 USC § 362(d)(1) based upon Debtor's
             post-petition default.

      b.     Debtor is in default post-petition. Debtor has failed to make full post-petition
             payments for the past 3 months as of February 10, 2025 and is in default in the
             amount of $3,377.64. This amount is broken down as follows:




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                      Post-Petition Payments Delinquent to Creditor

       Date Range                        Amount                               Total
 December 2024 to February
                                        $1,490.20                           $4,470.60
           2025

                                    Suspense: $(1,092.96)


                                       Total: $3,377.64


9.    Creditor requests that the Court order that Rule 4001(a)(4) is not applicable.

10.   Creditor further requests that further compliance with Fed.R.Bankr.P. 3002.1 be waived

      as to creditor in the instant bankruptcy case upon entry of an Order granting relief from

      the automatic stay.

      WHEREFORE, Creditor prays for the entry of an Order Granting Relief from the

Automatic Stay.


                                                    Respectfully submitted,

                                                     /s/Stephen R. Franks
                                                    Stephen R. Franks, Esquire (333394)
                                                    Adam B. Hall (323867)
                                                    MDK Legal
                                                    P.O. Box 165028
                                                    Columbus, OH 43216-5028
                                                    Telephone: 614-220-5611
                                                    Fax: 614-627-8181
                                                    Attorneys for Creditor
                                                    The case attorney for this file is Stephen R.
                                                    Franks.
                                                    Contact email is srfranks@mdklegal.com




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                                              :   Philadelphia, PA, 19107
 Kia Jeneene Letitia Johnson-Thomas           :
 Scott F. Waterman
                           Respondents.

                                CERTIFICATE OF SERVICE

       I certify that on the date of filing, a copy of the foregoing Motion of U.S. Bank Trust

National Association, not in its individual capacity, but solely as Trustee of LSF10 Master

Participation Trust for Relief from the Automatic Stay on First Mortgage for Real Property

located at 8610 Patton Rd, Glenside, PA 19038 was filed electronically. Notice of this filing will

be sent to the following parties through the Court's Electronic Case Filing System:

   Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

   SCOTT F. WATERMAN [Chapter 13], Chapter 13 Trustee, ECFMail@ReadingCh13.com

   BRAD J. SADEK, Attorney for Kia Jeneene Letitia Johnson-Thomas, brad@sadeklaw.com

       I certify that on the date of filing, a copy of the foregoing document was sent by U.S.

Mail to the following:

   Kia Jeneene Letitia Johnson-Thomas, 8610 Patton Road, Glenside, PA 19038

   BCWSA, 1275 Almshouse Road, Warrington, PA 18976



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  Bucks County Water Sewer Authority, PO Box 3333, Harleysville, PA 19438

  Springfield Township, 1510 Paper Mill Road, Glenside, PA 19038


                                                /s/Stephen R. Franks




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